           Case 3:21-cv-06118-JD          Document 141          Filed 03/14/24   Page 1 of 5




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13

14                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
15

16   DANIEL VALENTI, et al.,                              Case No.: 3:21-cv-06118-JD
17                         Plaintiffs,                    Hon. James Donato
18                 v.                                     JOINT MOTION FOR
                                                          ADMINISTRATIVE RELIEF,
19   DFINITY USA RESEARCH LLC, et al.,                    STIPULATION, AND [PROPOSED]
                                                          ORDER TO EXTEND PAGE LIMITS
20                         Defendants.
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                                          Case No. 3:21-cv-06118-JD
                JOINT MOTION, STIPULATION, AND [PROPOSED] ORDER TO EXTEND PAGE LIMITS
             Case 3:21-cv-06118-JD        Document 141           Filed 03/14/24   Page 2 of 5




 1          Pursuant to Local Rule 7-11, Lead Plaintiff Henry Rodriguez and named plaintiff Daniel

 2 Valenti, on behalf of themselves and all others similarly situated (collectively, “Plaintiffs”), and

 3 Defendants Dfinity USA Research, LLC, Dfinity Foundation, and Dominic Williams (collectively,

 4 “Defendants,” and together with Plaintiffs, the “Parties”), by and through their respective

 5 undersigned counsel, stipulate and jointly move the Court for Administrative Relief to extend the

 6 page limitations applicable to Defendants’ forthcoming motion to dismiss the Second Amended

 7 Complaint, as prescribed by this Court’s Standing Order for Civil Cases.

 8          WHEREAS, on January 2, 2024, the Court entered an order (the “Order”) setting deadlines

 9 for Defendants to respond to Plaintiffs’ Second Amended Complaint and any related briefing (ECF

10 No. 138);

11          WHEREAS, pursuant to the Order, the deadline for Defendants to file their motion to

12 dismiss the Second Amended Complaint is March 29, 2024, with Plaintiffs’ opposition to that

13 motion due by May 28, 2024, and Defendants’ reply due by July 12, 2024;

14          WHEREAS, Defendants believe that a modest enlargement to the page limits applicable to

15 briefing on Defendants’ motion to dismiss will aid the Court in resolving Defendants’ forthcoming

16 motion;

17          WHEREAS, Plaintiffs do not object to this request provided they receive an equivalent

18 enlargement of the page limit applicable to their opposition brief;

19          WHEREAS, the Court previously allowed a modest enlargement to the page limits

20 applicable to Defendants’ Motion to Dismiss the Amended Complaint, ordering that Defendants’

21 opening brief and Plaintiffs’ opposition brief not exceed 20 pages, and that Defendants’ reply brief

22 not exceed 15 pages (ECF Nos. 61, 64);

23          NOW THEREFORE, subject to the approval of the Court, the Parties, through their

24 undersigned counsel, hereby STIPULATE and AGREE as follows:

25          1.     Defendants’ opening brief in support of their forthcoming motion to dismiss shall
26
     not exceed 20 pages.
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                                           Case No. 3:21-cv-06118-JD
                 JOINT MOTION, STIPULATION, AND [PROPOSED] ORDER TO EXTEND PAGE LIMITS
           Case 3:21-cv-06118-JD          Document 141          Filed 03/14/24   Page 3 of 5



           2.     Plaintiffs’ brief in opposition to Defendants’ forthcoming motion to dismiss shall
 1

 2 not exceed 20 pages.

 3         3.     Defendants’ reply brief in further support of their forthcoming motion to dismiss

 4 shall not exceed 15 pages.

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           IT IS SO STIPULATED.
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     Dated: March 14, 2024                            Respectfully submitted,
 7

 8   /s/ Jordan A. Goldstein                          /s/ Michael E. Liftik
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            Case 3:21-cv-06118-JD          Document 141          Filed 03/14/24     Page 4 of 5




 1                                           ATTESTATION

 2         Pursuant to Civil L.R. 5-1(i)(3), I hereby attest that each of the signatories identified above

 3 has concurred in the filing of this document and authorized the use of their signatures.

 4 Dated: March 14, 2024

 5                                                 By:     Michael E. Liftik
                                                           Michael E. Liftik
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            Case 3:21-cv-06118-JD        Document 141           Filed 03/14/24   Page 5 of 5




 1                                      [PROPOSED] ORDER

 2          PURSUANT TO STIPULATION, IT IS HEREBY ORDERED THAT:

 3          1.     Defendants’ opening brief in support of their forthcoming motion to dismiss shall
 4
     not exceed 20 pages.
 5
            2.     Plaintiffs’ brief in opposition to Defendants’ forthcoming motion to dismiss shall
 6
     not exceed 20 pages.
 7
            3.     Defendants’ reply brief in further support of their forthcoming motion to dismiss
 8

 9 shall not exceed 15 pages.

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11 Dated:

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13                                                Hon. James Donato
                                                  United States District Judge
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                                          Case No. 3:21-cv-06118-JD
                 JOINT MOTION, STIPULATION, AND [PROPOSED] ORDER TO EXTEND PAGE LIMITS
